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                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

    In re:                                             )     Chapter 11
                                                       )
    YELLOW CORPORATION, et al.,1                       )     Case No. 23-11069 (CTG)
                                                       )
                                                       )     (Jointly Administered)
                         Debtors.                      )
                                                    Objection Deadline: January 2, 2024 at 4:00 p.m.
                                                    Hearing Date: Scheduled only if Necessary



                THIRD MONTHLY APPLICATION FOR COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS CO-COUNSEL
              FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
              PERIOD FROM OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

    Name of Applicant:                                     Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                           Debtors and Debtors in Possession
    to:
                                                           Effective as of August 6, 2023 by order signed
    Date of Retention:
                                                           September 19, 2023
    Period for which Compensation and
                                                           October 1, 2023 through October 31, 20232
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                           $96,378.00
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                           $ 2,760.72
    as Actual, Reasonable and Necessary:

This is a:         ☒monthly          ☐ interim       ☐final application.

                   The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,500.00.




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.
2
  The applicant reserves the right to include any time expended in the time period indicated above in future
application(s) if it is not included herein.


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                                    PRIOR APPLICATIONS FILED

   Date            Period Covered         Requested       Requested      Approved        Approved
  Filed                                     Fees          Expenses         Fees          Expenses
 11/20/23        08/06/23 – 08/31/23      $248,845.50      $59,133.50       Pending         Pending
 11/20/23        09/01/23 – 09/30/23      $163,001.50      $11,959.88       Pending         Pending



                                       PSZ&J PROFESSIONALS

         Name of                    Position of the Applicant,      Hourly   Total         Total
       Professional                 Number of Years in that         Billing  Hours      Compensation
        Individual                  Position, Prior Relevant         Rate    Billed
                                 Experience, Year of Obtaining    (including
                                  License to Practice, Area of    Changes)
                                            Expertise
 Laura Davis Jones              Partner 2000; Joined Firm 2000;   $1,745.00   10.60        $18,497.00
                                Member of DE Bar since 1986
 Peter J. Keane                 Of Counsel 2018; Member of PA     $1,025.00   71.60        $73,390.00
                                Bar since 2008; Member of DE &
                                NH Bars since 2010
 Melissa N. Flores              Paralegal                         $ 545.00     0.50        $ 272.50
 Patricia E. Cuniff             Paralegal                         $ 545.00     0.80        $ 436.00
 Andrea R. Paul                 Case Management Assistant         $ 425.00     8.90        $ 3,782.50

                                       Grand Total:      $96,378.00
                                       Total Hours:           92.40
                                       Blended Rate:      $1,043.05




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                                 COMPENSATION BY CATEGORY

                   Project Categories                          Total Hours                  Total Fees
    Asset Analysis and Recovery                                          0.30                    $ 307.50
    Asset Disposition                                                    3.60                    $ 4,050.00
    Bankruptcy Litigation                                               48.40                    $56,354.00
    Case Administration                                                  9.70                    $ 4,218.50
    Claims Administration and Objections                                 2.10                    $ 2,440.50
    Other Professional Compensation                                      1.40                    $ 1,435.00
    Contract and Lease Matters                                           5.50                    $ 5,637.50
    Financial Filings                                                    1.90                    $ 1,947.50
    Plan and Disclosure Statement                                        0.80                    $ 820.00
    Other Professional Retention                                         7.60                    $ 7,790.00
    Stay Litigation                                                     11.10                    $11,377.50



                                         EXPENSE SUMMARY

          Expense Category                              Service Provider3                          Total
                                                          (if applicable)                         Expenses
    Delivery/Courier Service             Advita                                                    $ 119.01
    Court Fees                           USBC                                                      $ 376.00
    Lexis/Nexis – Legal Research                                                                   $ 39.18
    Pacer - Court Research                                                                         $ 937.30
    Postage                              US Mail                                                   $    0.63
    Reproduction Expense                                                                           $1,288.60




3
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

    In re:                                             )    Chapter 11
                                                       )
    YELLOW CORPORATION, et al.,1                       )    Case No. 23-11069 (CTG)
                                                       )
                                                       )    (Jointly Administered)
                         Debtors.                      )
                                                    Objection Deadline: January 2, 2024 at 4:00 p.m.
                                                    Hearing Date: Scheduled only if Necessary



                THIRD MONTHLY APPLICATION FOR COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS CO-COUNSEL
              FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
              PERIOD FROM OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

                   Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”), and the Court’s “Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals and (II) Granting

Related Relief,” signed on or about September 13, 2023 (the “Administrative Order”), Pachulski

Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), co-counsel for the debtors and debtors in

possession (“Debtors”), hereby submits its Third Monthly Application for Compensation and for

Reimbursement of Expenses for the Period from October 1, 2023 through October 31, 2023 (the

“Application”).

                   By this Application PSZ&J seeks a monthly interim allowance of compensation

in the amount of $96,378.00 and actual and necessary expenses in the amount of $2,760.72 for a

1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.


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total allowance of $99,138.72 and payment of $77,102.40 (80% of the allowed fees) and

reimbursement of $2,760.72 (100% of the allowed expenses) for a total payment of $79,863.12

for the period October 1, 2023 through October 31, 2023 (the “Interim Period”). In support of

this Application, PSZ&J respectfully represents as follows:

                                                   Background

                   1.           On August 6, 2023, the Debtors commenced these cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in

possession of their property and continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the Debtors’ chapter 11 cases.

                   2.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                   3.           On or about September 13, 2023, the Court signed the Administrative

Order, authorizing certain professionals (“Professionals”) to submit monthly applications for

interim compensation and reimbursement for expenses, pursuant to the procedures specified

therein. The Administrative Order provides, among other things, that a Professional may submit

monthly fee applications. If no objections are made within twenty-one (21) days after service of

the monthly fee application the Debtors are authorized to pay the Professional eighty percent

(80%) of the requested fees and one hundred percent (100%) of the requested expenses.

Beginning with the period ending on October 31, 2023 and at three-month intervals thereafter,

each of the Professionals may file and serve an interim fee application for compensation and



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reimbursement of expenses sought in its monthly fee applications for that period. All fees and

expenses paid are on an interim basis until final allowance by the Court.

                   4.           The retention of PSZ&J, as co-counsel for the Debtors, was approved

effective as of August 6, 2023 by this Court’s “Order Authorizing the Employment and

Retention of Pachulski Stang Ziehl & Jones LLP as Co-Counsel for the Debtors Effective as of

the Petition Date,” signed on or about September 19, 2023 (the “Retention Order”). The

Retention Order authorized PSZ&J to be compensated on an hourly basis and to be reimbursed

for actual and necessary out-of-pocket expenses.

                        PSZ&J’s APPLICATION FOR COMPENSATION AND
                             FOR REIMBURSEMENT OF EXPENSES

                                       Compensation Paid and Its Source

                   5.           All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtors.

                   6.           PSZ&J, and any partner, of counsel, or associate thereof, have received no

payment and no promises for payment from any source other than from the Debtors for services

rendered or to be rendered in any capacity whatsoever in connection with the matters covered by

this Application. There is no agreement or understanding between PSZ&J and any other person

other than among the partners, of counsel, or associates of PSZ&J for the sharing of

compensation to be received for services rendered in these cases. PSZ&J has received payments

from the Debtors during the year prior to the Petition Date in the amount of $191,712.00, in

connection with the preparation of initial documents and its prepetition representation of the

Debtors. Upon final reconciliation of the amount actually expended prepetition, any balance


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remaining from the prepetition payments to PSZ&J was credited to the Debtors and utilized as

PSZ&J’s retainer to apply to postpetition fees and expenses pursuant to the compensation

procedures approved by this Court in accordance with the Bankruptcy Code.

                                                  Fee Statements

                   7.           The fee statements for the Interim Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Interim Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the

Administrative Order. PSZ&J’s time reports are initially handwritten by the attorney or

paralegal performing the described services. The time reports are organized on a daily basis.

PSZ&J is particularly sensitive to issues of “lumping” and, unless time was spent in one time

frame on a variety of different matters for a particular client, separate time entries are set forth in

the time reports. PSZ&J’s charges for its professional services are based upon the time, nature,

extent and value of such services and the cost of comparable services other than in a case under

the Bankruptcy Code. PSZ&J has reduced its charges related to any non-working “travel time”

to fifty percent (50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J

professionals attempt to work during travel.

                                         Actual and Necessary Expenses

                   8.           A summary of actual and necessary expenses incurred by PSZ&J for the

Interim Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per

page for photocopying expenses related to cases, such as these, arising in Delaware. PSZ&J’s



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photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                   9.           PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtors for the receipt of faxes in these cases.

                   10.          With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                   11.          PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are

in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                         Summary of Services Rendered

                   12.          The names of the partners and associates of PSZ&J who have rendered

professional services in this case during the Interim Period, and the paralegals and case



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management assistants of PSZ&J who provided services to these attorneys during the Interim

Period, are set forth in the attached Exhibit A.

                   13.          PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Debtors on a regular basis with respect to various matters in connection with the Debtors’

bankruptcy cases, and performed all necessary professional services which are described and

narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of

the Debtors’ bankruptcy cases.

                                        Summary of Services by Project

                   14.          The services rendered by PSZ&J during the Interim Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit

A identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.




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              A.         Asset Analysis and Recovery

                   15.          This category relates to work regarding asset analysis and recovery issues.

During the Interim Period, the Firm, among other things, reviewed and analyzed issues regarding

Manzi CPA letters.

                                Fees: $307.50;         Hours: 0.30

              B.         Asset Disposition

                   16.          This category relates to work regarding the sale or other disposition of

assets. During the Interim Period, the Firm, among other things: (1) performed work regarding

a notice of adjourned auction; (2) performed work regarding de minimis asset sale notices; and

(3) corresponded regarding sale issues.

                                Fees: $4,050.00;       Hours: 3.60

              C.         Bankruptcy Litigation

                   17.          This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Interim Period, the Firm, among other things: (1) reviewed

and analyzed agency agreement issues; (2) performed work regarding service issues;

(3) monitored critical date issues; (4) performed work regarding an agency agreement motion

and a related motion to shorten; (5) reviewed and analyzed issues regarding a motion to seal and

an agent declaration; (6) reviewed and analyzed issues regarding a notice of cancellation of

rolling stock auction; (7) prepared for and attended a status conference on October 17, 2023

regarding the agency motion; (8) attended to scheduling issues; (9) performed work regarding

Agenda Notices and Hearing Binders; (10) reviewed and analyzed issues regarding the TSC




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matter; (11) reviewed and analyzed issues regarding Wheels Up; (12) prepared for and attended a

hearing on October 23, 2023; (13) reviewed and analyzed issues regarding a removal extension

motion and regarding a motion to modify local rules; (14) reviewed and analyzed objections;

(15) performed work regarding a notice relating to revised order concerning Ritchie Brothers;

(16) prepared for and attended a hearing on October 27, 2023; (17) performed work regarding

orders; (18) performed work regarding a notice of unredacted agency agreement; (19) performed

work regarding stipulations relating to Warn Act matters; and (20) corresponded regarding

bankruptcy litigation issues.

                                Fees: $56,354.00;     Hours: 48.40

              D.         Case Administration

                   18.          This category relates to work regarding administration of this case.

During the Interim Period, the Firm, among other things, maintained a memorandum of critical

dates, and maintained document control.

                                Fees: $4,218.50;      Hours: 9.70

              E.         Claims Administration and Objections

                   19.          This category relates to work regarding claims administration and claims

objections. During the Interim Period, the Firm, among other things, performed work regarding

a motion to modify local rule regarding claim objections, and corresponded regarding claim

issues.

                                Fees: $2,440.50;      Hours: 2.10




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              F.         Other Professional Compensation

                   20.          This category relates to work regarding the compensation of professionals,

other than the Firm. During the Interim Period, the Firm, among other things, performed work

regarding Kirkland Ellis, Alvarez Marsal, and Ducera fee applications.

                                Fees: $1,435.00;      Hours: 1.40

              G.         Contract and Lease Matters

                   21.          This category relates to issues regarding executory contracts and

unexpired leases of real property. During the Interim Period, the Firm, among other things:

(1) reviewed and analyzed issues regarding a lease rejection motion; (2) reviewed and analyzed

an objection by a former employee relating to rejection issues; (3) reviewed and analyzed cure

notice issues; (4) reviewed and analyzed issues regarding an extension of time to assume or

reject lease; (5) reviewed and analyzed issues regarding an assumption notice relating to non-

rolling stock; and (6) corresponded regarding contract and lease matters.

                                Fees: $5,637.50;      Hours: 5.50

              H.         Financial Filings

                   22.          This category relates to issues regarding compliance with reporting

requirements. During the Interim Period, the Firm, among other things: (1) reviewed and

analyzed United States Trustee fee issues; (2) performed work regarding Monthly Operating

Reports; and (3) corresponded regarding financial filings issues.

                                Fees: $1,947.50;      Hours: 1.90




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              I.         Plan and Disclosure Statement

                   23.          This category relates to issues regarding a Plan of Reorganization and

Disclosure Statement. During the Interim Period, the Firm, among other things, performed work

regarding an exclusivity motion.

                                Fees: $820.00;         Hours: 0.80

              J.         Other Professional Retention

                   24.          This category relates to issues regarding the retention of professionals,

other than the Firm. During the Interim Period, the Firm, among other things: (1) performed

work regarding Ordinary Course Professionals issues; (2) performed work regarding the KPMG

retention application; (3) performed work regarding a notice of amendment relating to Ernst

Young; and (4) corresponded regarding retention issues.

                                Fees: $7,790.00;       Hours: 7.60

              K.         Stay Litigation

                   25.          This category relates to issues regarding the automatic stay and relief from

stay motions. During the Interim Period, the Firm, among other things: (1) performed work

regarding relief from stay stipulations in the Gibby and PACCAR matters; (2) performed work

regarding a stipulation relating to Wintrust; (3) performed wok regarding relief from stay

stipulations in the Nowicki and Webster matters; (4) performed wok regarding stipulations in the

Mitsubishi and Sumitomo matters; (5) reviewed and analyzed relief from stay motions;

(6) reviewed and analyzed issues regarding equipment lease stipulations; (7) performed work

regarding the Stoughton and Valley stipulations; (8) performed work regarding a stay relief




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Omnibus objection; (9) reviewed and analyzed issues regarding the Axos and Louro stay relief

matters; (10) reviewed and analyzed a stipulation and order relating to East West; and

(11) conferred and corresponded regarding stay litigation issues.

                                Fees: $11,377.50;     Hours: 11.10

                                               Valuation of Services

                   26.          Attorneys and paraprofessionals of PSZ&J expended a total 92.40 hours in

connection with their representation of the Debtors during the Interim Period, as follows:

         Name of                       Position of the Applicant,         Hourly   Total          Total
       Professional                    Number of Years in that            Billing  Hours       Compensation
        Individual                     Position, Prior Relevant            Rate    Billed
                                    Experience, Year of Obtaining       (including
                                     License to Practice, Area of       Changes)
                                               Expertise
 Laura Davis Jones                 Partner 2000; Joined Firm 2000;       $1,745.00     10.60       $18,497.00
                                   Member of DE Bar since 1986
 Peter J. Keane                    Of Counsel 2018; Member of PA         $1,025.00     71.60       $73,390.00
                                   Bar since 2008; Member of DE &
                                   NH Bars since 2010
 Melissa N. Flores                 Paralegal                             $ 545.00       0.50       $ 272.50
 Patricia E. Cuniff                Paralegal                             $ 545.00       0.80       $ 436.00
 Andrea R. Paul                    Case Management Assistant             $ 425.00       8.90       $ 3,782.50

                                            Grand Total:        $96,378.00
                                            Total Hours:             92.40
                                            Blended Rate:        $1,043.05

                   27.          The nature of work performed by these persons is fully set forth in Exhibit

A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtors during the Interim Period is

$96,378.00.




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                   28.          In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order and believes that this

Application complies with such Rule and Order.

                   WHEREFORE, PSZ&J respectfully requests that, for the period October 1, 2023

through October 31, 2023, an interim allowance be made to PSZ&J for compensation in the

amount of $96,378.00 and actual and necessary expenses in the amount of $2,760.72 for a total

allowance of $99,138.72 and payment of $77,102.40 (80% of the allowed fees) and

reimbursement of $2,760.72 (100% of the allowed expenses) be authorized for a total payment of

$79,863.12, and for such other and further relief as this Court may deem just and proper.

Dated: December 11, 2023                      PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Laura Davis Jones____________________
                                              Laura Davis Jones (DE Bar No. 2436)
                                              Timothy P. Cairns (DE Bar No. 4228)
                                              Peter J. Keane (DE Bar No. 5503)
                                              Edward Corma (DE Bar No. 6718)
                                              919 North Market Street, 17th Floor
                                              Wilmington, DE 19801
                                              Telephone: (302) 652-4100
                                              Facsimile: (302) 652-4400
                                              Email: ljones@pszjlaw.com

                                              Co-Counsel for the Debtors and Debtors in Possession




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                                                 DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                   Laura Davis Jones, after being duly sworn according to law, deposes and says:

                   a)           I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                   b)           I am familiar with the work performed on behalf of the debtors and

debtors in possession by the lawyers and paraprofessionals of PSZ&J.

                   c)           I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about September 13,

2023, and submit that the Application substantially complies with such Rule and Order.



                                                        /s/ Laura Davis Jones__________________
                                                        Laura Davis Jones




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